           Case 1:11-cv-04170-RLV Document 3 Filed 01/25/12 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

STACEY NATURMAN,                             )
                                             )      Civil Action No.
     Plaintiff,                              )
                                             )      1:11-cv-04170-RLV
v.                                           )
                                             )      JURY TRIAL DEMANDED
HOWARD OIFER AND PEACH                       )
OPTIKS, INC.,                                )
                                             )
     Defendants.                             )
                                             )
______________________________               )


                            VOLUNTARY DISMISSAL

        COMES NOW, Plaintiff, by and through undersigned counsel, and

dismisses her claims against HOWARD OIFER AND PEACH OPTIKS, INC. A

proposed Order is attached.

         Respectfully submitted this 25th day of January, 2012.

                                        s/Amanda A. Farahany
                                        Amanda A. Farahany
                                        Georgia Bar No. 646135
BARRETT & FARAHANY, LLP
1100 Peachtree Street
Suite 500
Atlanta, GA 30309
Tel: (404) 214-0120
Fax: (404) 214-0125
amanda@bf-llp.com
           Case 1:11-cv-04170-RLV Document 3 Filed 01/25/12 Page 2 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION

STACEY NATURMAN,                            )
                                            )      Civil Action No.
     Plaintiff,                             )
                                            )       1:11 cv 04170 RLV
v.                                          )
                                            )      JURY TRIAL DEMANDED
HOWARD OIFER AND PEACH                      )
OPTIKS, INC.,                               )
                                            )
     Defendants.                            )
                                            )
______________________________              )


                               CERTIFICATE OF SERVICE

        I hereby certify that I electronically filed the Voluntary Dismissal with the

Clerk of Court using the CM/ECF system which will automatically send email

notification of such filing to the following attorneys of record:

                           Steven M. Winter, Esq.
                           Winter Capriola Zenner
                           3490 Piedmont Road NE
                           Suite 800
                           Atlanta, GA 30305


This 25th day of January, 2012.

                                        s/Amanda A. Farahany___
                                        Amanda A. Farahany
                                        Georgia Bar No. 646135
